            Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 1 of 16




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                        :
                                                 :
                                                 :
                v.                               :     Criminal No. 21-CR-316
                                                 :
                                                 :
 WILLIAM ROGAN REID,                             :
                                                 :
                      Defendant.                 :


                           GOVERNMENT’S MEMORANDUM
                        IN SUPPORT OF PRE-TRIAL DETENTION

        The United States of America, by and through its attorney, the United States Attorney

 for the District of Columbia, respectfully submits this memorandum in support of its oral motion

 that the defendant, William Rogan Reid, be detained pending trial pursuant to 18 U.S.C. §

 3142(f)(2)(A) [Risk of Flight] and 3142(f)(2)(B) [Risk of Obstruction]. There are no conditions

 or combinations of conditions which can effectively ensure the appearance of the defendant and

 prevent obstruction of justice, pursuant to 18 U.S.C. § 3142(e).

        The government respectfully requests that the following points and authorities, as well

 as any other facts, arguments and authorities presented at the detention hearing, be considered

 in the Court’s determination regarding pre-trial detention.

                                      Factual Background

                 The Attack on the United States Capitol on January 6, 2021.

       1.       On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia. During

                                                1
            Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 2 of 16




the joint session, elected members of the United States House of Representatives and Senate met

in the United States Capitol to certify the vote count of the Electoral College for the 2020

Presidential Election, which took place on November 3, 2020.

       2.       The United States Capitol is secured 24 hours a day by security barriers and USCP

occupy various posts throughout the grounds. Restrictions around the United States Capitol include

permanent and temporary security barriers and posts manned by USCP. USCP officers wore

uniforms with clearly marked police patches, insignia, badges, and other law enforcement

equipment. Only authorized people with appropriate identification are allowed access inside the

United States Capitol. On January 6, 2021, the exterior plaza of the United States Capitol was also

closed to members of the public.

       3.       The January 6, 2021 joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first in

the joint session, and then in the Senate chamber.

       4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the United

States Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the United States Capitol building and USCP were present, attempting to keep the

crowd away from the Capitol building and the proceedings underway inside. As the certification

proceedings were underway, the exterior doors and windows of the Capitol were locked or

otherwise secured.

       5.       At approximately 2:00 p.m., certain individuals in the crowd forced their way


                                                2
            Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 3 of 16




through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in

the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.

       6.       A short time later, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings of the

United States Congress, including the joint session, were effectively suspended until shortly after

8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to

the United States Capitol, including the danger posed by individuals who had entered the United

States Capitol without any security screening or weapons check, Congressional proceedings could

not resume until after every unauthorized occupant had left the United States Capitol, and the

building had been confirmed secured. The proceedings resumed at approximately 8:00 p.m. after

the building had been secured. Vice President Pence remained in the United States Capitol from

the time he was evacuated from the Senate Chamber until the sessions resumed.

       7.       After the Capitol was breached, USCP requested assistance from MPD and other

law enforcement agencies in the area to protect the Capitol, keep more people from entering the

Capitol, and expel the crowd that was inside the Capitol. Multiple MPD officers and other law

enforcement officers came to assist.

       8.       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the United States Capitol


                                                 3
            Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 4 of 16




building without authority to be there.

                                   Facts Specifically Related to Reid

       9.       On or about January 29, 2021, the FBI received a tip from an individual (“Person

1”) stating that an individual known to Person 1 as WILLIAM ROGAN REID, who lives in

Florida, was at the U.S. Capitol building on January 6, 2021.

       10.      On or about February 11, 2021, the FBI interviewed Person 1 by telephone. Person

1 said he/she knew REID personally, knew REID’s voice, and had observed on REID’s old

Instagram account a video that appeared to have been taken by REID showing other people inside

the U.S. Capitol Building on January 6, 2021. Person 1 said that REID’s voice could be heard on

the video. On or about March 7, 2021, Person 1 advised that REID had a new Instagram account

under the username “blumpkinvice.”

       11.      Person 1 provided the FBI with a copy of Instagram posts on the “blumpkinvice”

account. One such post is a video of the rioters at the U.S. Capitol on January 6, 2021. Later in

the video, the camera is turned around, consistent with the use of a cellphone, to show an

individual resembling REID. Screenshots from this video are shown below.




                                                4
         Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 5 of 16




       12.     Another post on the “blumpkinvice” Instagram account is a video with the words

“Domestic Terrorism” displayed and in which an individual resembling REID states, in part, “I

want to say prison would be fun, but you’re not going to incarcerate me, motherfuckers. The 6th

was a warning.” The video appears to have been created with a cellphone that REID was

pointing at himself. A screenshot from the video is below.




                                               5
          Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 6 of 16




       13.     On or about March 24, 2021, the FBI reviewed publicly available video footage

taken from inside the U.S. Capitol on January 6, 2021. In the video, an individual resembling REID

appears at approximately 9 minutes and 41 seconds into the video. Below is a screenshot from the

video as well as a magnification of the video showing REID’s face.




        14.    The FBI compared images of the person in this video against the photograph of

REID maintained by the Florida Department of Highway Safety and Motor Vehicles (“DHSMV”)


                                                6
         Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 7 of 16




and it appears to be the same person. The address REID provided to the DHSMV is a residence

in Davie, Florida 33328 (the “Residence”).

       15.     On or about March 24, 2021, the FBI reviewed the Instagram account

“blumpkinvice,” an open account viewable by the public. On this account, the FBI found a link

to a Discord account called “the blumpkin#4602” which is also an open account viewable by the

public. In a post dated March 11, 2021, the user of the account stated “The 6th was the breaking

point for a lot of people but they’re cowering in fear again because of incaerceration [sic]” In

another post dated March 11, 2021, the user of the account stated “The 6th was our Boston Tea

Party.” In a post dated March 13, 2021, the user of the account stated “I rushed the Capitol” “Hi,

Feds” “Now you can all relax, im the target.” “I’LL FUCKIN DO IT AGAIN”




       16.     Records obtained from Instagram show that the user of the “blumpkinvice” account

provided a phone number ending in -3559.

       17.     Records obtained from AT&T show that the subscriber of the phone number ending

in -3559 is “Rogan Reid” at the Residence. These records also show that the cellphone associated

with the -3559 number is a Samsung cellphone.

                                                7
         Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 8 of 16




       18.     According to records obtained through a search warrant which was served on

AT&T, on January 6, 2021, in and around the time of the incident, the cellphone associated with

the phone number ending in -3559 was identified as having utilized a cell site consistent with

providing service to a geographic area that includes the interior of the U.S. Capitol building.

       19.     On March 26, 2021, Magistrate Judge G. Michael Harvey in the United States

District Court for the District of Columbia authorized a criminal Complaint and corresponding

arrest warrant charging REID with: (1) knowingly entering or remaining in any restricted building

or grounds without lawful authority to do so and engaging in disorderly or disruptive conduct

therein, in violation of Title 18, United States Code, Section 1752(a)(1) and (2); and (2) willfully

and knowingly uttering loud, threatening, or abusive language, or engaging in disorderly or

disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent

to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of

Congress, in violation of Title 40, United States Code, Section 5104(e)(2)(D) and (G).

       20.     On March 29, 2021, U.S. Magistrate Judge Zia M. Faruqui in the United States

District Court for the District of Columbia issued a search warrant for cellsite information for the

cellphone associated with the phone number ending in -3559, believed to be used by REID.

Records obtained pursuant to the search warrant indicated that the cellphone was being kept at the

Residence.

       21.     On March 30, 2021, U.S. Magistrate Jared M. Strauss in the United States District

Court for the Southern District of Florida issued a search warrant for the Residence and any

electronic devices contained therein containing evidence relating to REID’s commission of the

Original Offenses.


                                                 8
         Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 9 of 16




       22.     On April 1, 2021, at approximately 5 a.m., cellsite data for REID’s cellphone

indicated the phone utilized a cell site consistent with providing service to a geographic area that

includes the Residence. At approximately 6:05 a.m., cellsite data for REID’s cellphone continued

to indicate that the phone was identified as having utilized a cell site consistent with providing

service to a geographic area that includes the Residence. At approximately 6:13 a.m., law

enforcement arrived at the Residence and announced to its occupants that it had an arrest warrant

for REID and a search warrant for the Residence.

       23.     Although the cellular phone had been emitting regular signals approximately every

15 minutes, at 6:21 a.m. (approximately 8 minutes after law enforcement announced their presence

at the door of the Residence) a notification was received from the cell network indicating the phone

was either turned off or out of service. No signals were received from the phone after 6:05 a.m.

       24.     REID exited the Residence at approximately 6:30 a.m. and was arrested. Law

enforcement proceeded to execute the search warrant. As part of executing the search warrant,

law enforcement advised REID that the search warrant extended to electronic devices within the

Residence and asked where REID’s cellphone was located. REID initially claimed that he had left

his cellphone at a friend’s house but later claimed that he did not know where the cellphone was.

       25.     Law enforcement proceeded to search the Residence. Upon entry, law enforcement

observed that the Residence was filled with an excessive accumulation of items, consistent with a

persistent refusal to discard or part with possessions. Nevertheless, in the room identified as

REID’s bedroom, law enforcement found, in open view on a dresser, an iPad and a wallet

containing REID’s personal items. In addition, law enforcement found a charger for a Samsung

cellphone still plugged into the wall next to REID’s bed. Law enforcement proceeded to search


                                                 9
        Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 10 of 16




the Residence as thoroughly as possible in light of its condition and the volume of materials in

each of the rooms, but was unable to find REID’s cellphone after a diligent search.

       26.     REID was subsequently transported to the FBI Office for processing. Thereafter,

REID was transported to the Broward County Jail. During the ride, in an unsolicited statement,

REID voluntary told law enforcement that early in the morning on April 1, 2021, he had posted a

message on social media to the effect that he was going to destroy his cellphone because the FBI

was “after him.” REID also stated that the post was meant as an April Fool’s joke.

       27.     On April 2, 2021, the FBI accessed a Discord channel that is linked by REID’s

Instagram page. On the Discord channel, the FBI observed that at approximately 1 a.m. on April

1, 2021, a member of the channel posted an image of a conversation with an account called “The

Blumpkin Official” which shares a similar name with REID’s account.            In the embedded

conversation, “The Blumpkin Official” stated “Fuck, cops outside. Alright, boys. Wish me luck.

Lots of vehicles” and “Destroying phone now.” A screenshot of this embedded conversation is

shown below.




                                               10
        Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 11 of 16




                                       Procedural History

       28.     On April 2, 2021, defendant appeared before a U.S. Magistrate in the Southern

District of Florida for an initial appearance and removal to this District. At that time, defendant

was detained pursuant to 18 U.S.C. § 3142(d)(1) because at the time of the offense charged in the

District of Columbia, defendant was on release pending trial for a felony charge of aggravated

stalking in Palm Beach County, Florida, Case No. 2020CF002624AMB (“Palm Beach case”).

       29.     On April 5, 2021, U.S. Magistrate Judge Zia Faruqui authorized an amended

criminal complaint adding a felony charge of obstruction by corruptly altering, destroying,

mutilating, or concealing a record, document, or other object, in violation of 18 U.S.C. §

1512(c)(1).

       30.     On April 12, 2021, defendant appeared via zoom from federal custody for a bond

revocation hearing in the Palm Beach case. After hearing arguments from the State Attorney and

Reid’s counsel, the court revoked Defendant’s state bond.

                                                11
         Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 12 of 16




        31.    On April 14, 2021, defendant appeared before the U.S. Magistrate Judge in the

Southern District of Florida for a status conference. At that time, the matter was reset to April 16,

2021.

        32.    On April 16, 2021, defendant appeared before the U.S. Magistrate Judge in the

Southern District of Florida for a removal hearing and a detention hearing. At that time, defendant

waived the right to have a removal hearing and stipulated to a $250,000 corporate security bond

with a right to revisit, but did not have a detention hearing.

        33.    On April 23, 2021, defendant appeared via zoom before the U.S. Magistrate Judge

in the District of Columbia. At that time, counsel was appointed for defendant and a detention

hearing was scheduled for April 28, 2021. The same day, U.S. Magistrate Judge G. Michael

Harvey issued an order delaying transport of the defendant to Washington, D.C. absent a further

order of the Court.

        34.    Also on April 23, 2021, defendant was indicted on one violation of 18 U.S.C. §

1512(c)(1) (Corruptly Altering, Destroying, Mutilating or Concealing a Record, Document, or

Other Object); one violation of 18 U.S.C. § 1752(a)(1)(Entering and Remaining in a Restricted

Building or Grounds); one violation of 18 U.S.C. § 1752(a)(2)(Disorderly and Disruptive Conduct

in a Restricted Building or Grounds); one violation of 40 U.S.C. § 5104(e)(2)(D) (Disorderly

Conduct in a Capitol Building), and one violation of 40 U.S.C. § 5104(e)(2)(G) (Parading,

Demonstrating, or Picketing in a Capitol Building.

                                             Argument

        35.    The Government submits that the evidence described above, and which forms the

basis for the obstruction charge against defendant, demonstrates that if released on bond, there is


                                                  12
         Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 13 of 16




a serious risk that the defendant will obstruct or attempt to obstruct justice, and that he cannot be

expected to comply with any bond conditions which this Court might set. As described above,

after learning that the FBI had arrived at his residence to execute a search warrant, defendant either

turned off or damaged his cellphone, so that it stopped emitting GPS tracking signals. When asked

about his phone during the execution of the search warrant, defendant lied – first claiming that the

phone was at a friend’s house and then claiming that he did not know where it was.The defendant

clearly understood the significance of his cellphone to the criminal investigation. In the social

media posts described above, defendant made clear that he was aware the FBI was investigating

him for his activities at the U.S. Capitol on January 6. And in the supposed “joke” that he posted

the night before his arrest, defendant specifically linked the arrival of law enforcement at his house

with the destruction of his phone, demonstrating the link in his mind between the phone and the

criminal investigation.

       36.     Accordingly, if released, there is a serious and specific risk that defendant will make

further efforts to hide or destroy his cellphone. Moreover, given that defendant is now aware that

incriminating evidence exists on his social media accounts, there is a serious risk that if released,

defendant will use the opportunity to attempt to destroy that evidence as well.

       37.     More broadly, the defendant’s conduct on January 6, and his subsequent social

media posts demonstrate both a lack of remorse and a contempt for law enforcement. For example,

in one of his Instagram posts, the defendant appears to be speaking directly to law enforcement

when he says “you’re not going to incarcerate me, motherfuckers.” In a March 13, 2021 post,

defendant specifically refers to the “Feds” and says “I’ll fuckin do it again.” These posts speak to




                                                 13
        Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 14 of 16




the defendant’s mindset in which destruction of evidence, or other acts of obstruction, are not just

acceptable but to be encouraged.

       38.     Defendant’s criminal history also demonstrates both a contempt for rules and a

willingness to disobey court orders. First and foremost, the defendant committed his charged

offenses while on pre-trial release from a felony charge in the Palm Beach case, which resulted in

his state bond being revoked.      Defendant’s willingness to violate the Florida court’s bond

conditions can give this Court no comfort that he would abide by any conditions this Court might

set.

       39.     Nor was this the first time Defendant has violated court orders. Defendant failed

to appear as required in a 2005 criminal mischief/damage to property case in Florida state court,

and his probation in that case terminated unsuccessfully. Defendant had a 2008 charge for driving

while license suspended. Though the adjudication of that charge was withheld, the conduct still

suggests an unwillingness to obey the rules. In 2009, defendant was charged with Battery in a

domestic violence case, and though the case was ultimately dismissed, defendant failed to appear

at his arraignment and a capias warrant had to be issued. It is also worth noting that defendant’s

current felony charge for aggravated stalking appears to be based on a violation of a previous

injunction for protection against stalking – another court order that defendant appears to have

disobeyed.

       40.     In addition to these aspects of the defendant’s history and characteristics is the fact

that defendant has no current employment, has no ties to the District of Columbia, and has a history

of mental health issues, including one prior hospital commitment pursuant to the State of Florida’s




                                                 14
        Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 15 of 16




Baker Act. At the same time, the weight of the evidence against the defendant is extremely strong.

All of these factors pose a risk of nonappearance and further obstruction of evidence.

                                       CONCLUSION

       WHEREFORE, the United States respectfully requests that the Court grant the

government’s motion to detain the defendant pending trial.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             DC Bar No. 415793


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                                                15
         Case 1:21-cr-00316-DLF Document 13 Filed 04/27/21 Page 16 of 16




                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk of the
Court using CM/ECF on April 27, 2021.

                                              /s/ Robert Juman
                                              Robert Juman
                                              Assistant United States Attorney




                                                  16
